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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                8:17CC286
                                            )
      vs.                                   )
                                            )
ANA KARLA RODRIGUEZ-TORREZ,                 )                  ORDER
                                            )
                    Defendants.             )


        This matter is before the court on the defendant’s unopposed Motion to Continue
Trial [288]. The government has recently added another individual to the case and
counsel have been in communication regarding the trial date. For good cause shown,

      IT IS ORDERED that the Motion to Continue Trial [288] is granted, as follows:

      1. The jury trial, now set for December 4, 2018, is continued to February 25, 2019

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising as
         a result of the granting of this motion, that is, the time between today’s date
         and February 25, 2019, shall be deemed excludable time in any computation
         of time under the requirement of the Speedy Trial Act. Failure to grant a
         continuance would deny counsel the reasonable time necessary for effective
         preparation, taking into account the exercise of due diligence. 18 U.S.C. §
         3161(h)(7)(A) & (B)(iv).

      DATED: November 5, 2018.

                                                BY THE COURT:


                                                s/ Michael D. Nelson
                                                United States Magistrate Judge
